                EXHIBIT B




Case 2:17-cv-00569-JPS Filed 04/21/17 Page 1 of 10 Document 6-2
                 iiTranscript of Milwaukee County Board of Supervisor’s
                                     February 2, 2017

Chairman       Good morning. The February 2nd, 2017 meeting of the Milwaukee County
Lipscomb       Board of Supervisors will come to order. The first order of business is the call of
               the roll. We are joined this morning by County Clerk Christensen. His first
               meeting that he will help us run today.
Clerk          Thank you. Supervisor Alexander.
Alexander      Present.
Clerk          Cullen.
Cullen         Here.
Clerk          Dimitrijevic.
Dimitrijevic   Here.
Clerk          Haas
Haas           Here.
Clerk          Johnson.
Johnson        Here.
Clerk          Mayo
Mayo           Present
Clerk          Moore Omokunde
Moore          Here.
Clerk          Nicholson
Nicholson      Here.
Clerk          Sartori
Sartori        Here
Clerk          Schmitt
Schmitt        Here
Clerk          Sebring
Sebring        Here
Clerk          Staskunas
Staskunas      Here
Clerk          Taylor second
Taylor         Present.
Clerk          Taylor ninth
Taylor         Here.
Clerk          Wasserman
Wasserman      Here
Clerk          Weishan
Weishan        Here
Clerk          West
West           Present
Clerk          Mr. Chairman
Lipscomb       Here. Quorum is present. Okay. I invite members and our guests to please rise
               and join me in the pledge of allegiance followed by a brief moment of silence.
Group          I pledge allegiance to the flag of the United States of America and to the republic



        Case 2:17-cv-00569-JPS Filed 04/21/17 Page 2 of 10 Document 6-2
            for which it stands, one nation under God, indivisible, with liberty and justice for
            all.
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Lipscomb    Item 41.
Clerk       Item 41. Number 16-637. A resolution ordinance in conjunction with the
            Department of Parks, Recreation, and Culture, to amend Section 47.03 of the
            Milwaukee County Code of General Ordinances, to establish a policy for
            location-based augmented reality games in Milwaukee County Parks. This item
            was recommended for adoption by the Committee on Parks, Energy, and
            Environment.
Lipscomb    Supervisor Wasserman.
Wasserman   Thank you, Mr. Chairman. This ordinance has been before you before. We’ve
            heard about this, we’ve listened to constituents. We’ve listened to people that
            have been affected by this, and we’ve watched the videos and seen the pictures
            of damages done to a park. A jewel in our system. It’s time that we have an
            ordinance that basically says that if an entity wants to come in and they want to
            do business in our park, be like any other entity. Take out a permit. Make sure
            you’re in the right part of the park, go through your permitting process. Let the
            parks do it and the parks have done it with every other business. What this
            ordinance basically does is it says that we’re going to treat all businesses equally.
            Today we talked about fairness. We talked about everybody should be treated
            fairly. It wasn’t creed, sex or color or anything that separates us. We should all
            be as one. One country. One America with no division. Parks are the same. All
            parks are equal in the city’s and in the county’s eyes and really in our public’s
            eyes. We want to go there and we want to enjoy them. But we also have
            ordinances in the State of Wisconsin and our county has ordinances about
            conducting business in parks. For one entity to have no rules, they can do
            whatever they want, they can make money off of our community, they can do
            damage to our parks and there’s no phone call, no place to go. It’s not fair.

            So one of the supervisors said this morning about how they came for one group
            one day and they came from another group another day. Today it is my park.
            Today it is my park, but guess what it will be your park tomorrow. This is just
            the start of the future reality of gaming. It’s a new wave. It’s coming. So sure,
            you can say Lake Park, those people out there are just complaining, but guess
            what, it will be your park tomorrow.

            All I am asking for is just fairness. All I’m asking for is that all businesses are
            treated equally, all parks are treated equally, go through the permitting process.
            Let’s make it fair and I’m open for questions. I’ve worked with corporation
            counsel on this. We’ve looked at the ordinances. We’ve looked at the state
            requirements. We’ve really worked hard on this to make it fair. This is not
            anything – I really want to say this over and over. This is nothing to do against
            Pokemon players, absolutely not. And if you read through the ordinance that
            was written here, it’s very clear this deals with a permitting process for a for-
            profit business. This county assumed thousands of dollars of damage and who’s


                                       2
       Case 2:17-cv-00569-JPS Filed 04/21/17 Page 3 of 10 Document 6-2
            paying for it, taxpayers. But this company came in and made all the money off of
            our citizens. We had no recourse. We paid for it ourselves. Any other business
            entity would be paying for it if they had damages to your park. I can go through
            every single supervisor. If it was done in your park, you would be saying, “hey
            you’re paying for that.” That’s all I’m saying. I might have been the first one but
            it’s coming to you tomorrow, and I really would appreciate your support on this.
            This will help your district, it helps your players, it helps your people and your
            constituents. Let’s keep the park system strong, let’s make things fair. I really
            appreciate your support.

Lipscomb    Thanks, Supervisor. Other comments? Supervisor Cullen
Cullen      I plan on voting no on this resolution for a number of reasons. For one, I saw the
            video of Pokemon players in Lake Park, and I didn’t think anything that drastic
            was happening. It looked like a bunch of young people, many of them my age,
            using their free time to be active in the park. I understand that there are concerns
            with trash in bathrooms, but that’s our job to address. We could have done many
            things to capitalize on this phenomenon. We could have roped off areas and
            charged a small fee for access. We could have had undercover officers writing a
            huge number of tickets and collected on that revenue. We could have brought in
            the beer garden. Instead, we have legislation before us that could potentially
            keep these kinds of games out of the parks and that scares me. I haven’t seen a
            group activity as diverse as Pokemon Go in Milwaukee County since Ethnicfest
            at Rufus King High School. I just think that this is something that we should be
            encouraging and regulating with out-of-the-box ideas rather than potentially
            restricting.
Lipscomb    Thank you, Supervisor. Supervisor West.

West        Thank you very much. I rise in total support of what my colleague from the 15th
            District just stated. We did talk a lot about fairness today. We also talked a lot
            about access today, and to limit access to our county parks because we’ve had
            one incident in one park is disappointing. Who knows what the next augmented
            reality game will be and perhaps it’s something that has to deal with our parks
            and something that we would want in our parks. I’m also unsure of how you
            would permit use of a park for a game that’s ongoing. So I don’t even think we
            even have the means within Milwaukee County to do that right now. We have
            permits for specific events, but what if it’s something ongoing. I think we’re
            creating a lot of work for ourselves over – and granted it was about a month last
            summer that this really took off – I don’t think it’s going to be a huge issue this
            summer. I think the Pokemon Go craze is pretty much over. But again, I share
            the views of my colleague from the 15th District in that it was great to see that
            many people in the park. It was great to see them running and being outside and
            being together and it was a very diverse group of people. And for all the bad
            things that I’ve seen or been emailed, some of the good things I didn’t hear about
            fights. I didn’t hear about rioting. I didn’t’ hear about people not getting along
            with each other. And I didn’t hear about additional sheriff’s deputies being
            needed. I know that they were patrolling the parks just like they normally do.


                                       3
       Case 2:17-cv-00569-JPS Filed 04/21/17 Page 4 of 10 Document 6-2
            There’s a lot of police presence at Bradfield Beach as it is and so again, I’m not
            unsympathetic about issues, and trust me I’ve heard them from the neighbors,
            but I don’t think because you live across the street from a park that you should
            expect that you’re never going to have people utilizing your park and that you’re
            always going to open your windows and have the sereneness of the bushes and
            the trees and whatever view you normally see. I don’t think again, after one
            particular incident that we should be legislating the whole future of reality games
            in Milwaukee County and in our parks. Again for the record and I did say this
            last month. This was not just Lake Park. This was our entire park system. And
            so if you take a look at the averages on that, we’re actually did really well. I
            mean we have how many parks and all of those parks and all of those parks have
            Pokemon Go components to them and we received complaints about one
            particular park. So once again in the law of averages that’s not terrible. Again I
            don’t know if I’ll be here because I do have to leave. But if I could vote today,
            Mr. Chairman, my vote would be definitely be no. Thank you.
Lipscomb    Thanks, Supervisor. Supervisor Moore Omokunde. Then Satori.
Moore       Thank you, Mr. Chairman. I have a few questions and perhaps the supervisor
            from the 3rd can answer them for me. First and foremost, all the communication
            that I received were about Pokemon Go and alternative games themselves just
            being there, not even in reference to any damage caused or anything. Emails of
            these people were in my way when trying to do my morning jog, or these people
            are here at night and I don’t want to hear people in the park at night. My
            concern is that what this resolution does and attempts to do is to regulate activity
            in the park and have somebody be able to be responsible for any damages that
            are caused. However, the communication that I received was eliminate these
            kinds of games from the park period. And so my question is does this legislation
            – I hope it is not to achieve that because that’s the communication I got –yeah I
            like this because I don’t like these people in my park. And if you want a
            morning jog in the park, should we legislate that if you don’t want to be bothered
            by some people having a blanket meal or picnic in the park or should you have
            legislation against being bothered by somebody shooting hoops next to your
            jogging route. These are questions that I have and personally I’m not interested
            in legislating so that a group of people can have no one in their parks so that just
            the outside neighbors are using the parks. When I ran for county supervisor for
            the 10th District, what I said was parks are community spaces and are to be used
            for community building, and I wholeheartedly still hold fast to that and I think
            all of our parks should be as full as they possibly can be for as long as they
            possibly can be and will take the brunt from whatever comes from. Thank you,
            Mr. Chairman.
Lipscomb    Thank you, Mr. Supervisor. Supervisor Sartori.
Sartori     Thank you, Mr. Chairman. I am a co-sponsor of this proposal. I could
            understand how Lake Park had a significant problem. It’s a beautiful location, a
            beautiful site. You have the lake, the beautiful park, the surroundings, the
            beautiful older homes. We have a profiteering company. We don’t much about
            them. We know they have a post office box in San Francisco. We don’t know if
            it’s an American company or a company from Timbuktu. The park system has


                                       4
       Case 2:17-cv-00569-JPS Filed 04/21/17 Page 5 of 10 Document 6-2
            tried to communicate with these people. This past summer, the residents of the
            Lake Park community have gone through absolute hell. For some people – most
            people I believe – played this game responsibly, they were good visitors to our
            park, to our neighborhood, but there are always a few who want to take their
            used tampons and throw them in people’s organic gardens and take infant
            diapers filled with fecal matter and throw it on people’s front lawns. People who
            want to throw garbage around. An inordinate amount of enforcement activity
            went this past summer to police Lake Park. We have a company here that has
            not been a responsible corporate citizen, has not paid one single penny or made
            any type of monetary type of contribution to our park system. I think we all
            know our parks are a precious gem for Milwaukee County. We don’t want to
            see any group abuse our parks. We want people to be treated fairly. I don’t
            believe that just by establishing a permitting system that we’re going to abolish
            augmented reality games. We have a couple of hot spots in my district – Grant
            Park, Cudahy – nothing has gotten out of control, but it certainly got way way
            out of control this past summer at Lake Park. There’s an old saying, especially
            from the supervisor of the 2nd District. She has this comment she likes to make
            and her comment is I’m pro-active and not reactive. Well, I’m pro-active way
            before she was even born. I’m so pro-active I had even had seat belts put in my
            first car and that’s way before they were event required by law. And I would ask
            my colleagues to please support this ordinance. And I notice that there are some
            smirks in the audience and all I have to say is there was a day when cars came
            without seatbelts in them. Thank you.
Lipscomb    Thank you, Supervisor. Supervisor Nicholson and then Taylor of the Ninth.
Nicholson   Thank you. I thought it was important to share my opinion, Chairman, because
            I’m usually a very progressive person on the board here. And when I first got
            word of this resolution, I was immediately turned off, and I said this in
            committee. I have the pleasure of serving as vice chair of parks so I get the
            pleasure of hearing personal testimony from many different types of people in
            regards to our great treasures. But it immediately turned me off because it
            seemed like a rich people’s problem and I’m all for access and all for inclusion
            but what bothered me at the parks committee was seeing the absolutely
            disgusting way Lake Park was left after playing these games. And Supervisor
            from the Third, Supervisor Wasserman, brought up a very good point. Today it
            was Lake Park and tomorrow it could be Washington Park, it could be Juneau
            Park, it could be Arrow Park, any of the great parks that I have an honor of
            representing. And so I consider very many things and what I found important
            throughout this whole conversation was to think about the fact that this company
            can bring in thousands of people and profit off of thousands of people and after
            this game is over, Milwaukee County is left with the bill. We have to foot the
            bill and we’re already struggling to maintain our parks. So I read the resolution.
            I actually sat down and read it and I learned that this resolution does not limit
            access. And I think Supervisor from the 15th brought up some great points.
            Yeah, we do have the opportunity to raise revenue but I do think ticket sales
            would make access very difficult for some people, and I think undercover
            policeman would make it difficult for some people to want to go to the park, but


                                       5
       Case 2:17-cv-00569-JPS Filed 04/21/17 Page 6 of 10 Document 6-2
            I think permitting a company to work within our parks is a great way to raise
            revenue. I had a constituent contact me about holding an event in one of my
            parks and they had trouble coming up with the money and wanted a reduced fee.
            Parks did not want to work with that person. Why is it that a resident of our
            county can’t hold an event in our parks when they’re obligated to take care of
            trash, they’re obligated to pick up things behind themselves, have barriers and all
            sorts of things to contain crowds and a company can just come in and use our
            parks without any accountability. And so I’m encouraging you all to support this
            resolution because I think we need to hold these companies accountable. I think
            this will make them think about how their using these games in our park systems
            or even anywhere in counties across the nation or across the world. Even as
            simple as having some sort of disclaimer, just making people aware of how their
            using our park system. There is just no accountability. So I’m just encouraging
            you all to vote yes on this resolution so that we can protect our treasures. I’m all
            for access. I’m all for inclusion. I love that people were using our parks. At the
            same time, I don’t think companies should be able to profit off of our parks that
            our residents treasure and pay for out of their own pockets. Thank you.
Lipscomb    Thank you, Supervisor. Supervisor Taylor of the 9th.
Taylor 9    Thank you, Mr. Chairman. I support this -- what’s before us. I want to disagree
            with a couple of speakers that spoke against it. It’s a little bit about notice. This
            is – it just happened. There was no notification and all of a sudden you have a
            park being bombarded. So if you actually have a permitting process, the county
            will be made aware and they can basically say this is not the best location
            because there are other parks that are a lot more not neighborhood-oriented in a
            way. We have some on the lakefront. I’m not going to list them all that would
            probably have had less problems, but this definitely there was issues there. So I
            think notification is one thing which is why you do permits so that way everyone
            doesn’t show up at the same time and fight over one picnic pavilion. If you
            know in advance and you reserve it or you let people know this is going to be
            going on, I think that’s – would have been part of the problem if we could have
            had the proper law enforcement there.

            The second thing is this company – these companies make hundreds of millions
            of dollars. It’s not like we’re asking for hundreds of millions of dollars in return.
            We’re basically saying, fill out a form, here’s the fee, pay it and do it. And I’m
            sure they can afford to have actual couple of bodies in an office that takes a look
            at where we’re going to do this, let’s make sure we’re following the rules of that
            community.

            The last thing is if you just take a look at the videos and pictures of what
            happened. I mean there were so many empty beer cans and used condoms – I
            mean I’m missing out on something it looks like because this is just absolutely –
            I was appalled as to what was going on in this park. It was appalling to see the
            amount of filth that went on in this park that the neighbors had to endure. I mean
            frankly, it’s unacceptable because it cost Milwaukee County money. It cost the
            neighbors a great inconvenience and I think this is a good solution to a problem.


                                       6
       Case 2:17-cv-00569-JPS Filed 04/21/17 Page 7 of 10 Document 6-2
Lipscomb     Thank you, Supervisor. Were those prepared comments or off the top of the –
             laughter. Supervisor Wasserman.
Wasserman    Thank you, Mr. Chairman. In response to Supervisor from the 10th, access has
             never ever entered my eyes at all. Parks ___. Parks should always be accessible
             to our community. And we’re privileged to live there and we should keep our
             jewels as shining as they are.

             I would want to refer to – if there are any questions on it, I would refer to
             corporate counsel to ask is there any way – are we trying to restrict in this
             permitting process? Is there any history or even talk are we trying to decrease the
             number of people in the population or is this just a simple permitting process that
             any other business would have.
Lipscomb     You do wish – the first statement was sort of rhetorical, but do you wish to have
             Corporation Counsel answer some questions.
Wasserman    If members have questions.

Lipscomb     Do members have questions of Corporation Counsel? Supervisor Sebring.
Sebring      Thank you, Mr. Chairman. I don’t know if this would be for Corporation
             Counsel or for Supervisor Wasserman. My question is if someone other than
             Niantic brings some game other than Pokemon Go brings some game to the park
             system, how are they going to know if they need to get a permit?
Lipscomb     Good question, Supervisor. Is that a question you can answer, Supervisor
             Wasserman?
Wasserman    I’d refer that to Corporation Counsel. The parks department, too.
Lipscomb     Okay. Acting counsel Dohm, if you would join us. You heard the question. Is
             that something you could answer.
Dohm         Thank you, Mr. Chairman. Supervisor Sebring, thank you for your question.
             And for the referral, Supervisor Wasserman. The quick answer to that is
             ignorance of the law is never an excuse. Many people may not be familiar with
             the particulars of permitting processes in general, but they educate themselves
             when they know they are having an event. At this point in time, these
             ordinances are becoming discussed in many, many jurisdictions, including our
             own, and are now being implemented in response to very similar games being
             played in a number of areas. So we certainly can make every effort to inform,
             make public and have those permitting requires made public, but there would be
             nothing that would require notification prior to that. It would just be an
             ordinance that would be on the books and require them to adhere to the
             permitting process which we could attempt to inform them of in due course.
Lipscomb     Does that answer the question, Supervisor Sebring?
Sebring      Yes, thank you.
Lipscomb     Supervisor Moore Omokunde , did you have a question for counsel or other
             comment. All right. Thank you, Counsel. Supervisor Moore Omokunde, you
             have the floor.
Moore        Thank you, Mr. Chairman. So here’s my concern. Let’s – because I don’t have
             a problem with large companies who make millions of dollars of games having
             to break us off a piece because they’re using our parks. However, I am going


                                        7
        Case 2:17-cv-00569-JPS Filed 04/21/17 Page 8 of 10 Document 6-2
               back to the communications that I received. Folks saying these people are in my
               park, they’re blocking my jogging route, they’re in the park at 9:00 when I want
               to put my children to sleep, and they’re still in my park. The other issue I have is
               what if companies like this, and I’ve heard that Harry Potter Go is coming, they
               just put the Pokemons or Harry Potters or whatever in the middle of the street
               next to the park, then they don’t have to pay. And so you still get the same
               traffic of people trying to catch the Pokemons in the street and they might end up
               in the park still and then we still get calls, we still get complaints “oh these
               people are in my park”. But then they don’t have to pay because the Pokemons
               are in the street, which is open space, free space, can’t make them pay to put
               stuff in the street and then we still have the same challenges. So I’m wondering
               if we could simply have someone be responsible for -- because I think to the
               Supervisor from the 3rd’s point, if somebody is responsible for damages that are
               caused as a result of a lot of people in the park for one reason, that’s why groups
               are required to have insurance when they come to the parks. Is their insurance
               going to be able to cover this or should we be going after specific insurance or
               responsibility that way because at this point I don’t think it’s going to stop the
               issue that we have at this point, and I’m just concerned with that. So I just came
               with a lot of questions so that’s all. Thank you.
Lipscomb       Thank you, Supervisor. Supervisor Wasserman.
Wasserman      Thank you, Chairman. I think that’s part of the permitting process. Any business
               that wants to come in and do – if you want to have a wedding in a park, if you
               want to have a barbeque, if you want to have family reunions, soccer games,
               baseball games, you have to insure it. If you do damage, you’re responsible for
               it. There’s a phone number on the application, this would be the same thing.
               Equal treatment company to company and business to business.
Lipscomb       Thank you, Supervisor. Any further comments on the item. If not, adoption is
               before us. Seeing none. Mr. Clerk, on adoption.
Clerk          The question is adoption. Supervisor Alexander.
Alexander      No.
Clerk          Cullen
Cullen         No
Clerk          Dimitrijevic
Dimitrijevic   Aye
Clerk          Haas
Haas           Aye
Clerk          Johnson
Johnson        Aye
Clerk          Mayo
Mayo           Aye
Clerk          Moore Omokunde
Moore          Aye
Clerk          Nicholson
Nicholson      Aye
Clerk          Sartori
Sartori        Aye


                                        8
        Case 2:17-cv-00569-JPS Filed 04/21/17 Page 9 of 10 Document 6-2
Clerk            Schmitt
Schmitt          Aye
Clerk            Sebring
Sebring          No.
Clerk            Staskunas
Staskunas        Aye
Clerk            Taylor 2nd.
Taylor 2         No.
Clerk            Taylor 9th
Taylor 9         Aye
Clerk            Wasserman
Wasserman        Aye
Clerk            Weishan
Weishan          Aye
Clerk            West
Lipscomb         Excused
Clerk            Mr. Chairman.
Lipscomb         Aye
Clerk            Thirteen ayes, four nos.
Lipscomb         Thirteen ayes, four nos. The ordinance is adopted.
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                                           9
           Case 2:17-cv-00569-JPS Filed 04/21/17 Page 10 of 10 Document 6-2
